      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 1 of 16

                        McFADDEN & SHOREMAN
                                 ATTORNEYS AT LAW
                              1050 CoNNECTICUT AVENUE, NW
                                       SUITE 1000
                                WASHINGTON, DC 20036
                                     (202) 772-31 88
                                   FAX (202) 204-861 0

DOUGLAS B. MCFADDEN (DC, NY)                                    JOHN M. SHOREMAN (DC, NY)



October 10, 2014

VIA CER11EIED MAIL - RETURN JlECEIPT. REQUESTED
CT Corporation System
1015 15th Street, N.W.
Suite 1000
Washington, D.C. 20005

Re:    AlliedBarton Security Services LLC
       1212 New York Avenue, N.W.
       Suite 505
       Washington, D.C. 20005

Dear Sir /Madame:

       As registered agent of AlliedBarton Security Services LLC, please accept service of
the enclosed Summons, Complaint and Initial Order in the matter of Nyambal v. Allied
Barton Security Services LLC, Case No. 2014 CA 006418 B. Do not hesitate to contact the
undersigned if you have any questions or concerns.

                                                 Yours truly,
                                                 McFADDEN & SHOREMAN




cc:    AlliedBarton Security Services
                Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 2 of 16



                                                                  Superior Court of the District of Columbia
                                                                                       CIVIL DIVISION
                                                                       500 Indiana Avenue, N.W., Suite 5000
                                                                  Washington, D.C. 20001 Telephone: (202) 879-1133




                                                                                            PlaintitT

                                                    vs.                                                                Case Number

   A!.-lrl FDBARn,J hc,vrz,rt
          S,. € {!. VI          ve: ~ ) /,.-        j.. (.,                           Defendant

                                                                                   SUMMONS
 To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty (20) days after service of this summons upon you, exclusive
 of the day of service. If you are being sued as an officer or agency of the United States Government or the
 District of Columbia Government, you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the party plaintiff who is suing you. The
 attorney's name and address appear below. lfplaintiffhas no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

         You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30a.m. and 5:00p.m., Mondays through Fridays or between 9:00a.m. and 12:00 noon on
 Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within five (5) days after you have served the plaintiff. If ou fail to file an Answer, judgment
 by default may be entered against you for the relief dema          ·    e complaint.


Name of Plaintiffs Attorney

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  IMPORTANT; IF YOU FAIL TO FILE AN ANSWER WITHIN THE TIME STATED ABOVE. OR IF, AFTER YOU
ANSWioR. YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO, A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAINST YOU FOR THE MONEY DAMAGES OR OTHER RELIEF DEMANDED IN THE
COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATI'AC:HED OR WITHHELD OR PERSONAL PROPERTY OR
REAL ESTAn: YOU OWN MAY BE TAKEN AND SOLD TO PAY THE JUDGMENT. IF YOU INTEND TO OPPOSE THIS
ACTION. DO NOT FAIL TO ANSWER WITHIN THE REQUIRED VMR

   If you \vish to talk to a lawyer and feel that you cannot atlord to pay a tCe to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-1161) or the Neighbothood Legal Services (202-279-5100) tor help or come to Suite 5000 at 500
Indiana Avenue, N.W .. for more information concerning places where you may ask for such help.

                                                                   See reverse side for Spanish translation
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fORM SUMMONS- Jan. 2011                                                                                                                                      CASUM.doc
              Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 3 of 16




                                            TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                                                                  DIVISION CIVIL
                                                                500 Indiana Avenue, N.W., Suite 5000
                                                            Washington, D.C. 20001 Telt'fono: (202) 879-1133




                                                                              Demandante
                                             contra

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                                                                               CITATO RIO
 AI susodicho Demandado:
          PorIa presente se le cita a comparecer y se le require entregar una Contestaci6n ala Demanda adjunta, sea en
 persona o por medio de un abogado, en el plazo de veinte (20) dias contados despues que usted haya recibido este
 citatorio, excluyendo el dia mismo de Ia entrega del citatorio. Si usted esta siendo demandado en calidad de oficial o
 agente del Gobierno de los Estados Unidos de Norteamerica o del Gobierno del Distrito de Columbia, tiene usted
 sesenta (60) dfas contados despues que usted haya recibido este citatorio, para entregar su Contestaci6n. Tiene que
 enviarle por con·eo una copia de su Contestaci6n al abogado de Ia parte demandante. El nombre y direccion del
 abogado aparecen al final de este documento. Si el demandado no tiene abogado, tiene que enviarle al demandante una
 copia de la ContestaciOn por CO!Teo ala direcci6n que aparece en este Citatorio.

          A usted tambien se le require presentar Ia Contestaci6n original al Tribunal en Ia Oficina 5000, sito en 500
 Indiana Avenue, N.W., entre las 8:30a.m. y 5:00p.m., de Junes a viernes o entre las 9:00a.m. y las 12:00 del mediodfa
 los sabados. Usted puede presentar Ia Contestaci6n original ante el Juez ya sea antes que Usted le entregue al
 demandante una copia de Ia Contestaci6n o en el plaza de cinco (5) dias de haberle hecho Ia entrega al demandante. Si
 usted incumple con presentar una Contestaci6n, podria dictarse un fallo en rebeldia contra usted para que se haga
 efectivo el desagravio que se busca en Ia demanda.
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Legal Aid Society  (202~628-1161) o el Neighborhood Legal Services (202~279-51 00) para pedir ayuda o venga a Ia Oficina 5000
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           Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 4 of 16


                        SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                    CIVIL DIVISION

EUGENE NYAMBAL
  Vs.                                                                C.A. No.        2014 CA 006418 B
ALLIEDBARTON SERCURlTY SERVICES, LLC
                                 INITIAL ORDER AND ADDENDUM


     Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
 ("SCR Civ") 40-I, it is hereby ORDERED as follows:


      (l) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge's name beneath the case number in the caption. On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original.

     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the Summons, the Complaint, and this Initial Order. As to any defendant for whom such proof of
service has not been filed, the Complaint will be dismissed without prejudice for want of prosecution unless the
time for serving the defendant has been extended as provided in SCR Civ 4(m).

      (3) Within 20 days of service as described above, except as otherwise noted in SCR Civ 12, each defendant
must respond to the Complaint by filing an Answer or other responsive pleading. As to the defendant who has
fuiled to respond, a default and judgment will be entered unless the time to respond has been extended as
provided in SCR Civ 55(a).

     (4) At the time and place noted below, all counsel and umepresented parties shall appear before the
assigned judge at an Initial Scheduling and Settlement Conference to discuss the possibilities of settlement and
to establish a schedule for the completion of all proceedings, including, normally, either mediation, case
evaluation, or arbitration. Counsel shall discuss with their clients prior to the conference whether the clients are
agreeable to binding or non-binding arbitration. This order is the only notice that parties and counsel will
receive concerning this Conference.

     (5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than six business days before the scheduling conference date.
No other continuance of the conference will be granted except upon motion for good cause shown.

     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each Judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court's website http://www.dccourts.gov/.

                                                                Chief Judge Lee F. Satterfield
Case Assigned to: Judge MICHAEL O'KEEFE
Date: October 9, 2014
Initial Conference: 9:30am, Friday, January 09, 2015
Location: Courtroom B-52
            510 4th Street, NW
            WASHINGTON, DC 20001                                                                    Caio.doc
       Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 5 of 16


                       ADDENDUM TO INITIAL ORDER AFFECTING
                         ALL MEDICAL MALPRACTICE CASES

        In accordance with the Medical Malpractice Proceedings Act of2006, D.C. Code§ 16-2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC." D.C. Code § 16-
2821.

        To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. Two separate Early Mediation Forms are available. Both forms may be obtained at
www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a mediator
from the multi -door medical malpractice mediator roster; the second form is to be used for early
mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiff's counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Prose Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

       A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 10 years of significant experience in medical malpractice litigation. D.C. Code
§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code§
16-2823(b).

        The following persons are required by statute to attend personally the Early Mediation
Conference: (1) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code§ 16-2824.

        No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding: (l)
attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation. D.C. Code §
16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil Clerk's
Office.      The forms to be used for early mediation reports are available at
www.dccourts.gov/medmalmediation.

                                                                    Chief Judge Lee F. Satterfield


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      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 6 of 16




                      SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                                   (Civil Division)



EUGENE NYAMBAL                                                                  )
5734 First Street South,
                                                      RECE!VBill                          .
                                               Civil Clerk's G•T:~~:,,
Arlington, VA 22204
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                        Plaintiff                  OCT 0 9 2014)                         ~               XX-XXXXXXX
                                                 Superior Cour!· {;f5.~}0                ~-
V.                                               District of Cot~,;-,]: 'b                    Case No.
ALLIEDBARTON        SECURITY~-,_.;,W.;,:a.;,;sh;;in;;:;g:;;to;;;rr:.;:,l: ,:)':;:C~-""-""'J
SERVICES LLC,                                                                   )
1212NewYorkAvenue,N.W.,                                                         )             JURY DEMANDED
Suite 505                                                                       )
Washington, DC 20005                                                            )
Serve: CT Corporation System                                                    )
        1015 J5'h Street, N.W.                                                  )
       S~l~                                                                     )
       Washington, D.C. 20005                                                   )
                                                                                )
                        Defendant.                                              )




       COMES NOW the Plaintiff, EUGENE NYAMBAL, and hereby complains of the Defendant

the ALLIED BARTON SECURITY SERVICES LLC (hereinafter "ALLIEDBARTON") as follows.

                                                           JURISDICTION

       This Court has personal jurisdiction over AlliedBarton pursuant to D.C. Code§§ 13-422

and/or 13-423(a)(l), (a)(2) and (a)(3).

                                                          ~ACl{GROUND


       1.      Plaintiff, Eugene Nyambal, is a distinguished economist in the field of international

development. Nyarnbal is presently an independent contractor and author. Previously he held

positions as a Team Leader at the World Bank, and Senior Strategy officer with the International
     Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 7 of 16



Finance Corporation, earning awards for excellence in both capacities. Unti12009, Nyambal was a

senior advisor to Executive Director Laurean Rutayisire, who represented 24 African countries on

the Board of the International Monetary Fund ("IMF"). Nyambal has authored numerous books and

articles and is a regular speaker on economic development issues.

       2.      Respondent, AlliedBarton is a security services company. AlliedBarton provides

security services to the IMF and World Bank under exclusive, and lucrative, service contracts.

       3.      The IMF is an international organization. Its principal office is located at 700 191h

Street, N.W., Washington, D.C. 20431. It conducts operations throughout the globe providing

economic advice, loans and technical assistance to governments of member countries. The IMF uses

AlliedBarton as a vendor for its corporate security.

       4.      The World Bank is an international organization. Its principal office is located at

1818 H Street, N.W., Washington, D.C. 20433. The World Bank promotes economic development

in low-income and emerging countries and hires private contractors to implement its operations.

The World Bank uses AlliedBarton as a vendor for its corporate security.

       5.      One ofNyambal's responsibilities at the IMF was to advise member countries in the

course of economic aid negotiation, while safeguarding IMF resources on behalf of its shareholders.

       6.      In performing his duties at the IMF, Nyambal reviewed a proposal submitted by the

government of Cameroon ostensibly for the purpose of taking an equity stake in the Nkamouna

nickel, manganese and cobalt mining project in the Eastern region of the country. The mining

license was awarded by presidential decree to Geovic Mining Corp, a Delaware-Cayman Islands

firm ("Geovic") through Geocam, its Cameroon subsidiary ("Geocam"), which was formed with an

inadequate capital base of only $20,000. During negotiations with the IMF, Nyambal raised serious

concerns about the lack of transparency and potential corruption in the mining project. In addition

to the disbursement of a tranche ofiMF credit, Cameroon was seeking $60 million in funding

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      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 8 of 16



approval for the mining project. It was Nyambal's professional opinion that the government of

Cameroon had not supplied the IMF with adequate information to allow a proper assessment of the

project. For example, the identity of individual shareholders in Geocam was not disclosed. When

the IMF approved funding, Nyambal strenuously objected that it did so without adequate oversight.

And, as predicted by Nyambal, in due course $60 million in IMF funding was misappropriated.

       7.      After raising his objections, Nyambal's employment at the IMF was abruptly

terminated without notice or explanation on June 25, 2009. Nyambal was immediately denied

access to his office and his personal belongings were confiscated. When he eventually re-entered his

office three months later, all files relating to the Cameroon mining project had been removed.

        8.     On July 16, 2009, Nyambal entered a Credit Union, which is co-located in the IMF

building in Washington, D.C., to conduct a personal banking transaction. There is no access to IMF

offices or facilities from the Credit Union's premises and it is freely accessible to any member of

the public who maintains an account. Entry is not restricted to IMF personnel. Other private

businesses, including restaurants, also lease space in the IMF building. While attending to his

business at the Credit Union, Nyambal was approached by two AlliedBarton security guards, who

were providing security to the Credit Union under contract with the IMF, and ordered to leave the

premises of the Credit Union. Nyambal was accosted and escorted from the Credit Union in full

view of the public and a professional colleague who had accompanied him into the premises. The

AlliedBarton, acting in conspiracy with the IMF and with an intent to harm Nyambal, assaulted and

ejected Nyambal from the Credit Union.

       9.      Nyambal's concerns over the Cameroon mining project were well founded because

the $60 million approved by the IMF in 2009 disappeared and the project never even started. On

June 4, 2014, Geovic, a penny stock firm trading at $0.03 was de listed from the Toronto Stock

Exchange for failure to meet listing requirements in regard to the issuance of promissory notes to

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      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 9 of 16



insider directors bearing interest rates of 300 percent annually. Geovic continued to raise funds for

the mining project through 2013 even though it had admitted that construction and operation would

be delayed indefinitely. Eventually, in July 2013, the Cameroonian project was sold to JXTC, a

Chinese industrial conglomerate. This sale provided an exit strategy, legitimacy and substantial

financial resources to a few corrupt insiders, and well-connected individuals at the expense of the

people of Cameroon.

          I 0.   Against this background, the IMF and AlliedBarton continued to retaliate against

Nyambal for his public denunciations of the IMF's role in the Cameroon mining project. Nyambal

had been working as a private contractor with other international organizations since his

termination by the IMF. In order to silence and punish Nyambal denying him the means to make a

living, AlliedBarton in conspiracy with the IMF blacklisted Nyambal at the World Bank by

wrongfully posting his name and picture on the World Bank's "No Admit List," which is ordinarily

maintained for people deemed to represent a security threat to the World Bank and its staff

members. Also, Nyambal's contracts with other international organizations were cancelled for no

reason.

          II.    On July 23, 2013, as a private contractor, Nyambal went to the World Bank building

in Washington, D.C., to conduct a routine business meeting. He was denied access to the World

Bank building by AlliedBarton security officers who stated that their screen indicated that there was

a restriction against him and they refused to allow him access to the building. Nyambal was

humiliated in the presence of many professional acquaintances. The World Bank later indicated that

the it had never given an instruction to place Nyambal on its "No Admit List."

          12.    On August 2, 2013, Nyambal emailed the World Bank's Security Operations Unit

managed by AlliedBarton regarding the restriction on his access. Nyambal also sent letters to the



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     Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 10 of 16



IMF to inquire about the reasons of his illegal blacklisting at the World Bank. Neither the IMF nor

AlliedBarton responded to his requests for information.

       13.     On October 9, 2013, with the belief that the restrictions had been removed, Nyambal

and a colleague made arrangements to attend the Annual Meetings of the World Bank in order to

meet with government officials and secure contracts. However, Nyambal was again denied access

even though he had a three-day pass request on file with the World Bank. Nyambal was once again

publicly humiliated in the presence offormer colleagues, professional acquaintances and

government officials attending the Annual Meetings. The World Bank's Human Resources

Department in charge of managing access restriction policies indicated at that time that it did not

know why his access to the World Bank was still restricted, but that the restriction was not initiated

by the World Bank. Since leaving the IMF in 2009, Nyambal has made no threats or attempted to

access the IMF buildings. He had previously worked for the World Banlc as a private contractor in

2010 and 2011 and was given free access to its premises. Nyambal was not physically present in the

U.S. in the 16 months preceding his blacklisting at the World Bank by AlliedBarton and the IMF.

       14.     On November 7, 2013, a highly publicized article" IMF Whistleblower Banned

from the World Bank" was released. In this article the World Bank indicated to a journalist that it

was not involved in the matter. Since these incidents, Nyambal's employability in the development

community and ability to earn a living has been seriously damaged. Business opportunities have

vanished and Nyambal is no longer invited to speak in international seminars and conferences due

to the stigma created by his extended blacklisting. Although he's written a few articles, Nyambal

had to stop working on his next book due to financial and emotional distress.

       15.     On March 28,2014, Nyambal received a letter of invitation from the Minister of

Finance and Budget of the Republic of Equatorial Guinea to work with the authorities in that

country on specific areas of development. Nyambal and his team prepared projects worth over $30

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     Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 11 of 16



million to support: (i) SME and Youth Entrepreneurship projects; (ii) the setting up of a Special

Economic Zone to attract foreign investment and create jobs; (iii) the setting up of a Sovereign

Wealth Fund for the Government's strategic investment; and, (iv) the implementation of a tourism

sector strategy to help transform Equatorial Guinea into a Trade and Investment Hub similar to

Dubai. 20. Nyambal travelled to Equatorial Guinea from May 2 to 19,2014, to pursue negotiations

and the parties agreed that Nyambal should send the final project documents for finalization.

However, on or about May 21,2014, the contracting authorities in Equatorial Guinea were advised

that Nyambal had been blacklisted at the World Bank and IMP for wrongdoing and unethical

actions. Since that time, Nyambal's contract negotiations have come to a halt with Equatorial

Guinea despite multiple requests by Nyambal to move forward.

       16.      On June 5, 2014, the World Bank formally declined any responsibility in Nyambal's

blacklisting and shared with Nyambal the IMP's blacklisting memo. The World Bank concealed the

names of the AlliedBarton and IMP senders and recipients of the blacklisting emails and memos for

"confidentiality reasons." The Memo states: "the attachment (document DNA UPDATE 10-02-

2013.doc) is not attached to respect confidentiality of third parties. It only contains photos from

individual photo IDs and names of individuals on the Do Not Admit (DNA) list. Nyambal's name

and photo from a photo ID was included ... His name could have been on a previous iteration of that

same list, given the fact that he was not provided access in July of2013."

       17.     On June 5, 2014, a meeting took place at the World Bank between Nyambal, the

World Bank's human resources manager, who is in charge of implementing the Bank's" No Access

Policy" and a representative of AlliedBarton. While acknowledging that Nyambal' s blacklisting of

October 9, 2013, was triggered by the information provided by the IMP to the World Bank through

AlliedBarton, AlliedBarton contended that the July 23,2013, blacklisting was triggered by a

technical error in the process of changing Nyambal's access status from "former staff member" to

                                                   6
     Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 12 of 16



"visitor." However, since leaving the IMF in 2009, Nyambal had been entering to the World Bank

building either as a short-term consultant (service provider) or a visitor to be provided access upon a

request from a staff member or former colleagues for at least two years. In any of these two

capacities, Nyambal would have been given access on July 23,2013. Since there was a request in

the World Bank's security system to attend meetings at the World Bank on that date, AlliedBarton

had an obligation to give Nyambal a pass as a visitor to meet with his World Bank counterparts. On

July 23, 2013, Nyambal was not requesting access to the World Bank as a former staff member.

Thus, there was no basis to deny him access even for the alleged IT -related errors. During the

administrative review conducted by the World Bank on Nyambal's blacklisting, AlliedBarton never

provided any evidence to substantiate its IT-error narrative despite Nyambal's requests.

       18.     On July 23,2014, Nyambal's 16-year-old son attempted to commit suicide following

five years of harassment ofNyambal's family and the illegal blacklisting by the IMF and

AlliedBarton. The co-conspirators have deprived his family of income since July 2013. Nyambal' s

son was released from the Virginia Dominion Mental Health Hospital on July 28, 2014, and is

currently undergoing an outpatient treatment for severe depression and conduct disorder. Nyambal' s

son has indicated that he is tired of the deprivation inflicted on his family and he could no longer

talk about his father with pride at school because his friends were mocking him for his father's

prolonged unemployment and the negative news about him on the Internet.

       19.     On July 25,2014, approximately one year after the start ofNyambal's illegal

blacklisting at the World Bank, the World Bank's Vice President for Human Resources

sent Nyambal a letter of apology.

       20.     Despite Nyambal's multiple requests to the IMF Managing Director and Executive

Board and the available evidence provided by the World Bank, the IMF has refused to provide any

explanation or to investigate Nyambal's illegal blacklisting at the World Bank. AlliedBarton has

                                                   7
      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 13 of 16



never provided any explanation or response to Nyambal's inquiry about the reasons for placing his

name and picture on the World Bank's "No Admit" list, which is for the purpose of preventing

individuals deemed a security threat from entering the premises.

        21.         As a direct result of the malicious acts of AlliedBarton and the IMF, Nyambal has

received no contracts or income to support his family since July 2013. His contracts with other

international organizations have been cancelled, or his name has been removed at the last minute

from bidding documents due to the damage done to his professional reputation as a result of the

blacklisting. His three young children have been emotionally devastated by deprivation and distress.

He is struggling to keep his home. Nyambal can barely sleep more than 4 hours a night and has

been under anti-depressant, sleeping pills and heart medication for an extended period of time due

to the public humiliation, and cruel and inhumane treatment by AlliedBarton and its co-conspirator,

the IMF. The unconscionable acts of AlliedBarton and the IMF were taken in retaliation against

Nyambal because he exposed corruption in the Cameroon mining project and objected to the IMP's

role in funding the project.

                                                COUNT 1
                                            (Civil Conspiracy)

        22.     Nyambal repeats and realleages paragraphs 1 through 21 of the Complaint as if fully

set forth herein.

        23.     AlliedBarton and the IMF entered into an agreement and conspiracy to retaliate

against and damage Nyambal by assaulting him on the premises of the Credit Union and by denying

him access to his source of income at the World Bank.

        24.     AlliedBarton and the IMF agreed and conspired to participate in an unlawfnl act, or

to participate in a lawful act in an unlawful manner.

       25.      Nyambal suffered financial damages and emotional distress as a proximate cause of

AlliedBarton' s overt acts performed in the course of its agreement and conspiracy with the IMF.
      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 14 of 16



        26.     AlliedBarton's overt acts of assaulting Nyambal and blacklisting him from the World

Bank were undertaken by AlliedBarton to and in furtherance of its common scheme with the IMF.

        WHEREFORE, Nyambal prays the Court to enter judgment against AlliedBarton in the

amount of $15 million in compensatory damages, together with such other relief as the Court deems

appropriate.

                                           COUNT II
                       (Tortious Interference with Business Relationships)

        27.     Nyambal repeats and realleages paragraphs l through 26 of the Complaint as if fully

set forth herein.

        28.     AlliedBarton interfered in Nyambal's business relationships with the World Bank in

an unlawful and tortious manner with the intent to destroy such relationships, and, in fact, did

destroy such relationships by improperly and unlawfully blacklisting Nyambal from the World

Bank.

        WHEREFORE, Nyambal prays the Court to enter judgment against AlliedBarton in the

amount of $15 million in compensatory damages, together with such other relief as the Court deems

appropriate.

                                             COUNT III
                                            (Defamation)

        29.     Nyambal repeats and realleages paragraphs I through 28 of the Complaint as if :fully

set forth herein.

        30.     In furtherance of its unlawful conspiracy with the IMF, AlliedBarton defamed and

slandered Nyambal by blacklisting him at the World Bank. Knowledge of such blacklisting spread

quickly through Nyambal's professional community.




                                                  9
      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 15 of 16



        31.     Blacklisted individuals are commonly considered to security risks. In blacklisting

Nyambal, AlliedBarton intentionally damaged Nyambal's professional reputation and standing in

his professional community.

        32.     As a direct and proximate cause of AlliedBarton's defamation, Nyambal suffered,

and continues to suffer, lost income, lost future income, damage to his reputation and severe

emotional distress.

        WHEREFORE, Nyambal prays the Court to enter judgment against AlliedBarton in the

amount of $15 million in compensatory damages, together with such other relief as the Court deems

appropriate.

                                             COUNT IV
                           (Intentional Infliction of Emotional Distress)

        33.     Nyambal repeats and realleages paragraphs 1 through 32 of the Complaint as if fully

set forth herein.

        34.     AlliedBarton's improper and unlawful acts of intentionally and maliciously

damaging Nyambal are so egregious as to offend the sensibilities of a reasonable person.

        35.     As a direct and proximate cause of AlliedBarton' s improper and unlawful acts,

Nyambal has suffered, and continues to suffer, extreme emotional distress.

        WHEREFORE, Nyambal prays the Court to enter judgment against Allied Barton in an

amount to be determined at trial, together with such other relief as the Court deems appropriate.



                                             COUNTY
                                        (Punitive Damages)

        36.     Nyambal repeats and realleages paragraphs 1 through 35 of the Complaint as if fully

set forth herein.



                                                 10
      Case 1:14-cv-01904-EGS-ZMF Document 1-3 Filed 11/12/14 Page 16 of 16



           37.     AlliedBarton's improper and unlawful acts againstNyambal were undertaken with

an evil intent to damage Nyambal. Allied Barton, in conjunction with its co-conspirator (the IMF),

acted with intentional malice. Its acts, and the consequences of its acts, are so egregious as to

warrant the imposition of punitive damages in order to deter similar conduct by similarly situated

parties.

           WHEREFORE, Nyambal prays the Court to enter judgment against Allied Barton in an

amount of punitive damages to be determined at trial, together with such other relief as the Court

deems appropriate.

                                              JURY DEMAND




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           Trial by jury of all claims raised is requested.

Dated:      I0           )o                                R"pcotfully rubmitt<d




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